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                      ,

                                                              18     05548

                 v.



                          .




                                                                      (“CRI”)

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692

                                                                       ,                           .

For the reasons set forth below, Morris’s motion for summary judgment

       ’s



            June 10, 2018, Morris’s attorneys sent a fax to

                                                                           Ex. C, ECF No. 1 1.

   stated that “the debt reported on the credit report is not accurate.”

Statement of Material Facts (“SMF”)

                              placed Morris’s debt with

                              Def.’s           8              .

            ’s                                            written disputes, including faxes. Def.’s

Mem. in Support of its Mot. for Summ. J. (“MSJ”) at 7



                                                                                       .         20,
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            .                                                              Morris’s fax

                      ,                                .                       6                 5

                                                                           .

reported Morris’s debt to Experian, a consumer                         ,                                .

      12



furnished information regarding Morris’s debt to                                       on

                                       .



Collection Practices Act (“FDCPA”).

      ’



                                      when “there is no genuine dispute as to

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine dispute of

material fact “exists only if there is enough evidence upon which a reasonable jury could return a

verdict in” the non movant’s favor.

                                                                                               “view[s]

                                                                                                 .”     .

                          .                .



                                  .            §                                   “



                                                                                            ” constitutes

                              .                                   communicated Morris’s debt


                                                   2
     Case: 1:18-cv-05548 Document #: 44 Filed: 10/30/20 Page 3 of 8 PageID #:241




                                                             13            28.

that Morris’s fax legitimately                   a dispute. Def.’s Mem. in Support of MSJ at 2 n.1,

                                                           ’s failure to note the dispute is excusable



                                        1



was unintentional, resulting from a “bona fide error,” and (2) that error occurred “not

the maintenance of procedures reasonably adapted to avoid any such error.”

                                 5–                                                  .2

                                                                                     ,



                                                                      unintentional. Def.’s        .

Support                                 .                         n

                   Morris’s dispute letter to                                                  .

6.                                                                                        ’s




       1



       2

1041 n.3 (N.D. Ill. 2016), “[i]n some cases, t

                                                                                 ,

824, 834 (7th Cir. 1997)).”




                                                   3
      Case: 1:18-cv-05548 Document #: 44 Filed: 10/30/20 Page 4 of 8 PageID #:242




                                                                                               “need

                                                                                      unintentional.”

                                                   ,

                      .              intentionally communicated Morris’s debt to Experian, but

            suggest                                                               .

juror could conclude on this record that CRI’s error was anything other than an unintentional, bona




                                               .                                                    ,



                                           23, 2017).3

  p

        .



                                                                                        t collector’s

“maintenance of procedures reasonably adapted to avoid” such errors. The FDCPA “does not



reasonable precaution.”                    539.

“processes that have mechanical or other such ‘regular orderly’ steps to avoid mistakes.”           ,


        3

                                      , 558 U.S. at 58




regard. Def.’s Mem. in Opp’n to Pl.’s MSJ at 2


                                                   4
    Case: 1:18-cv-05548 Document #: 44 Filed: 10/30/20 Page 5 of 8 PageID #:243




559 U.S. at 587.                a debt collector’s procedures involves two steps: first, determining

                                                                           ,

                                                                                    ,




                                      —

dispute. And turning to the first step in the assessment of the adequacy of CRI’s efforts to avoid



                           ’s                                                                      ,

                                      .

                                                                                                  7.




                     Def.’s Mem. in Support of MSJ at 3, ECF No. 31.



                5.



of their employment. Def.’s Mem. in Support of MSJ at 3, ECF No. 31.



28 5.

                     24.



                                                  the administrative team’s




                                                  5
    Case: 1:18-cv-05548 Document #: 44 Filed: 10/30/20 Page 6 of 8 PageID #:244




           ’s procedures

                                                                                                   .




                                                                 CRI’s procedure for ensuring that




                                   rd them in an email log separate from CRI’s



                       .           11,      7.

n                                                                         CRI’s

replied, “[The disputed fax] should have just gone to me.”              6.



                                                                          ,    ,



                                                                     “it was just understood” that

employees would “go to the Post Office, pick up the mail, bring it back, sort it, pass it out to the

appropriate collector”).




                                                 6
      Case: 1:18-cv-05548 Document #: 44 Filed: 10/30/20 Page 7 of 8 PageID #:245



                                                                                       4
                                                                                           Nor did



team’s work and ensure                                                                         .




                                                                  n



                                                                                                   ,

for example, the district court rejected the defendant’s bona fide error defense premised on

“careless reading” by the employee who failed to note that the communication at issue disputed a

                                                                                           .

*6.                 ,                                                 ,   15 C 2939,

1534967,




      —                                                                             —



                ,




        4




                                               7
    Case: 1:18-cv-05548 Document #: 44 Filed: 10/30/20 Page 8 of 8 PageID #:246




                                                                                                2017



          ,

                                       ; it employed no “processes that have mechanical or other such

‘                  ’              id mistakes.”           , 559 U.S. at 587




                            . CRI’s bona fide error

is entitled to summary judgment as to CRI’s liability under the FDCPA.

                                          *       *       *       *      *

              Morris’s motion for summary judgment is                                  I’s motion for

                                                                                  ,

               §




                                                                              .




     d                 30, 2020




                                                      8
